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                EXHIBIT 23
    Case
     Case21-32261
          1:21-cv-06479-VSB
                    Document 44-23
                             Document
                                   Filed
                                       15-23
                                         in TXSB
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                                                     08/03/21 Page
                                                               Page22ofof22




                                         ALLON(,E


       ALLONGE to that certainPromissoryNote dated October21, 2016, payableby
KORNBLUTH TEXAS, LLC, a Texas limited liability company,to the order of RIALTO
MORTGAGE FINANCE, LLC, a Delawarelimited liability company,in the original principal
amount of EIGHT MILLION THREE HUNDRED FHTY THOUSAND AND NO/100
DOLLARS ($8,350,000.00).

       PAY TO THE ORDER OF WFCM 2016-LC25 WEST BAY AREA BOULEVARD,
LLC, a Delaware limited liability company,

     WITHOUT  RECOURSE AND     WITHOUT   REPRESENTATION    OR
WARRANTY, EXPRESS,IMPLIED OR BY OPERATION OF LAW, OF ANY KIND
AND NATURE WHATSOEVER.

                                   WILMINGTON TRUST, NATIONAL ASSOCLATION,
                                   AS TRUSTEE FOR THE BENEFIT OF THE
                                   REGISTERED HOLDERS OF WELLS FARGO
                                   COMMERCIAL MORTGAGE TRUST 2016-LC25,
                                   COMMERCIAL     MORTGAGE      PASS-THROUGH
                                   CERTIFICATES, SERIES 2016-LC25
[NO CORPORATE SEAL I
                                   By:       LNR Partners, LLC, a Florida limited liability
                                             company, its Attorney-in-Fact under that certain
                                             Limited Power of Attorney datedJanuary27, 2021




                                             Name     Job W       aw

                                             Title:   President
